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                                                                                    FILED
                                  IN THE UNITED ST ATES DISTRICT COURT        EAsr~Rr.PJfJ'fJfJr'ii'l<'}tNsAs
                                 FOR THE EASTERN DISTRICT OF ARKANSAS
                                            CENTRAL DIVISION                              SEP 2 9 2021
                                                                          ~  TAMMYH. DO
            PHARMACEUTICAL RESEARCH                                        By:
                                                                               - - ~ ~ - .../,,_-,-4-,:.flll-=~~oE=P'""C.,..,LE=RK=
            AND MANUFACTURERS OF
            AMERICA,

               Plaintiff,

                            v.

            ALAN MCCLAIN, in his official capacity
            as Commissioner of the Arkansas
            Insurance Department, and LESLIE
            RUTLEDGE, in her official capacity as
            Attorney General of Arkansas,                This case assigned to District Judge             Rw! ofs ki4
                                                         and to Magistrate Judge   _.E. . t-...Y....t:....· a.c.-..._____cr_
               Defendants.


                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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       Plaintiff Pharmaceutical Research and Manufacturers of America ("PhRMA") represents

the nation's leading innovative biopharmaceutical research companies, which are devoted to

discovering and developing medicines that help patients to live longer and healthier lives. PhRMA

brings this complaint for declaratory and injunctive relief against Alan McClain, in his official

capacity as Commissioner of the Arkansas Insurance Department, and Leslie Rutledge, in her

official capacity as Attorney General of Arkansas.

                                PRELIMINARY STATEMENT

        1.     In recent years, a nationwide dispute has arisen regarding the use of so-called

"contract pharmacies·· under what is known as the federal "340B" drug discount program. The

core of the dispute is between drug manufacturers, on the one hand, and for-profit pharmacies

(including national pharmacy chains and other private entities) on the other. PhRMA members

believe that for-profit pharmacy interests (and others) have found illegal ways to leverage the 340B

discounts to their financial benefit, often without assisting the vulnerable patient populations that

the 340B program was intended to help. Litigation brought by PhRMA members on these issues

is proceeding in federal district courts in Maryland, Indiana, Delaware, New Jersey, and the

District of Columbia.

       2.      This case challenges Ark. Code Ann.§ § 23-92-604( c)(I )-(2), the provisions in Act

1103 that purport to mandate federal 340B program pricing for certain pharmacies in Arkansas

(the "340B pricing mandate provisions"). The Arkansas legislature enacted Act 1103 in May

2021. Enforcement of the statute is currently stayed by the Arkansas Insurance Department, the

agency charged with its implementation and enforcement. Act 1103 's 340B pricing mandate

provisions impermissibly wade into the dispute concerning the operations of the federal 340B

program by attempting to regulate and alter the operations of that program as a matter of state law.

The provisions impose requirements that squarely conflict with a comprehensive federal program
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and that impair the program's efficacy, and they purport to regulate commercial transactions

occurring entirely outside of Arkansas. Arkansas Code Annotated § 23-92-604(c) is accordingly

invalid under the Supremacy and Commerce Clauses of the U.S. Constitution, and its application

should be enjoined.

       3.       Congress enacted the 3408 Drug Pricing Program, 42 U.S.C. § 256b (''3408"), in

1992. The 3408 program requires that drug manufacturers-as a condition of having their covered

outpatient drugs reimbursed under Medicare Part 8 or the federal share of the Medicaid Drug

Rebate Program-also provide substantial discounts on such drugs to fifteen specified types of

healthcare providers ("covered entities") that generally treat indigent, uninsured, and other

vulnerable patient populations. See id. § 256b(a)(4). The principal aim of the 3408 program was

to assist these covered entities and their patients financially. Congress contemplated that the

covered entities would pass the drug discounts they receive under the 3408 program on to the

vulnerable patient populations that they serve. See H.R. Rep. No. 102-384, pt. 2, at 12 (1992).

       4.       To effectuate the requirements of the 3408 program, Congress instructed the

Secretary of the U.S. Department of Health and Human Services ("HHS") to "enter into an

agreement with each manufacturer of covered outpatient drugs"'-known as a pharmaceutical

pricing agreement ("PP A")--capping the drug prices those manufacturers may charge covered

entities. 42 U.S.C. § 256b(a)(l ). These agreements between HHS and manufacturers reflect the

statutory requirements of the 3408 program and list the responsibilities of drug manufacturers

under the program.

       5.       Act 1103, Arkansas's "3408 Drug Pricing Nondiscrimination Act," seeks to

regulate manufacturers' participation in this completely federal program. In particular, Act 1103

requires manufacturers to provide 3408 pricing not just to the fifteen types of "covered entities"




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that Congress specified in the statute, but also to any Arkansas pharmacies with whom the covered

entities may choose to enter into a contract arrangement. Moreover, Act 1103 appears to require

manufacturers to provide 340B pricing not only for outpatient drugs prescribed for a covered

entity's patients, but also in many other circumstances where the federal 340B program does not

provide for any discount at all. The requirements imposed on manufacturers by Act 1103 do not

appear anywhere in the 340B statute or in PP As between manufacturers and HHS.

       6.       Quite the opposite-Act 1103 's requirements related to manufacturers directly

conflict with explicit requirements in both the federal 340B statute and the PP As. The 340B statute

defines the entities eligible to receive 340B pricing, and those entities do not include phannacies.

As one federal court recently explained: "It is hard to believe that Congress enumerated 15 types

of covered entities with a high degree of precision and intended to include contract pharmacies as

a 16th option by implication." AstraZeneca Pharms. LP v. Becerra, No. 1:21-cv-00027-LPS, 2021

WL 2458063, at *10 (D. Del. June 16, 2021). The 340B statute also expressly prohibits a covered

entity from reselling or otherwise transferring a drug purchased at the 340B price to anyone other

than its patients: '•With respect to any covered outpatient drug that is subject to an agreement

under this subsection, a covered entity shall not resell or otherwise transfer the drug to a person

who is not a patient of the entity." 42 U.S.C. § 256b(a)(5)(B) (emphasis added). This federal

statutory prohibition contains no exception allowing the Government to mandate that drug

manufacturers provide 340B pricing to for profit "contract pharmacies" outside covered entities.

And this prohibition establishes that-as a matter of federal law-the only patients allowed to

receive 340B discounted drugs are a covered entity's patients.

       7.       Act 1103, by contrast, purports to require drug manufacturers to transfer drugs at

340B prices to any Arkansas-based pharmacy that maintains a contract arrangement with a covered




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entity-regardless of the ultimate recipients of the drugs.       Act 1103 does this by barring

manufacturers from "[p ]rohibit[ing] a pharmacy from contracting or participating with an entity

authorized to participate in 340B drug pricing" and from "[d]eny[ing] or prohibit[ing] 340B drug

pricing for an Arkansas-based community pharmacy that receives drugs purchased under a 340B

drug pricing contract pharmacy arrangement." Ark. Code Ann. § 23-92-604( c )( 1)-(2).

       8.       So Act 1103 allows a covered entity to contract with any pharmacy in Arkansas,

allows such pharmacies to access a covered entity's 340B pricing, and requires manufacturers to

honor that arrangement-an arrangement that is presently at the center of numerous active federal

court cases. In other words, Act 1103 effectively seeks to pencil a sixteenth type of covered entity

into the federal 340B statute.

       9.       Other conflicts abound.   For example, Congress prohibits manufacturers from

dispensing certain drugs at a 340B price in the manner that Act 1103 contemplates-due to drug

safety risk evaluation and mitigation strategy ("REMS") requirements or limited distribution plans.

See, e.g., 21 U.S.C. § 355-1. And the federal agency that implements the 340B program, the Health

Resources and Services Administration ("HRSA"), has specifically instructed how manufacturers

can and should comply with the 340B statute's requirements-instructions that Act 1103 appears

to countermand. See infra ,r,r 32-35. These and other requirements of Act 1103 are irreconcilable

with the 340B statute and program.

       10.      Act 1103 also improperly intrudes in a field regulated comprehensively by

Congress. Congress has carefully balanced the rights and responsibilities of participants in the

340B program, and has crafted a carefully calibrated scheme by, among other things:

(1) enumerating the specific "covered entities" eligible to receive 340B pricing, 42 U.S.C.

§ 256b(a){l); (2) placing particular obligations on such covered entities (including prohibiting




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duplicate discounts and the diversion of drugs purchased at a 340B price as discussed infra ,i,i 28,

35, 42--43), e.g., id. § 256b(a)(5), (d)(2); (3) providing mechanisms for resolution of disputes

among manufacturers and covered entities through audit and Administrative Dispute Resolution

(.. ADR") processes, e.g., id. § 256b(d)(l )(B)(v), (d)(3); and (4) addressing enforcement of any

violations of the 340B statute or agreement with civil monetary penalties and appropriate

procedural safeguards, e.g., id. § 256b(d)(l)(B)(vi), (d)(2)(B)(v). There is no room for Arkansas

to step into this comprehensive federal regime and impose and enforce its own separate and

conflicting requirements.

       11.       For these and other reasons, Act 1103 's 340B pricing mandate provisions are

preempted by federal law. See Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 486 (2013) (holding

that when "federal law forbids an action that state law requires'· it is preempted); Crosby v. Nat 'l

Foreign Trade Council, 530 U.S. 363, 373 (2000) (where state law stands as an .. obstacle to the

accomplishment and execution of the full purposes and objectives of Congress," it is preempted

(citation omitted)); McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316 (1819); Arizona v. United

States, 567 U.S. 387, 399 (2012) ("[T]he States are precluded from regulating conduct in a field

that Congress, acting within its proper authority, has determined must be regulated by its exclusive

governance.").

       12.       Act 1103 's 340B pricing mandate provisions also violate the Commerce Clause.

The Supreme Court has long held that no state may "project its legislation into [another state] by

regulating the price to be paid in that state for [goods] acquired there," even if the goods at issue

are destined for resale in the regulating state. Baldwin v. G.A.F. Seelig, Inc., 294 U.S. 511, 521

(1935). Indeed, any "state law that has the 'practical effect' of regulating commerce occurring

wholly outside that State's borders" "exceeds the inherent limits of the enacting State's authority"




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and •'is invalid under the Commerce Clause."' Healy v. Beer Inst., 491 U.S. 324,332,336 (1989)

(citation omitted).   Arkansas Code Annotated § 23-92-604(c) is a textbook violation of this

extraterritoriality principle. The practical effect of Act 1103 's 340B pricing mandate provisions

is to directly regulate two types of wholly out-of-state transactions: (1) transactions between

manufacturers (including certain of PhRMA's members) and their wholesale-distributor partners,

the vast majority of which take place outside of Arkansas; and (2) transactions between

manufacturers and out-of-state ··covered entities" that are entitled to benefits under the federal

340B program.

        13.     For these and other reasons, PhRMA brings this lawsuit seeking a declaration that

Ark. Code Ann.§ 23-92-604(c) is both preempted and unconstitutional, and requests an injunction

barring Defendants from enforcing it against PhRMA and its members.

                                             PARTIES

        14.     Plaintiff PhRMA is a trade association representing the nation's leading innovative

biopharmaceutical research companies.         PhRMA' s members, which manufacture and sell

pharmaceutical products, participate in the federal 340B program.

        15.     Defendant Alan McClain is Commissioner of the Arkansas Insurance Department.

In that role, he implements and enforces the challenged legislation. This suit is brought against

him in his official capacity only.

        16.    Defendant Leslie Rutledge is the Attorney General of Arkansas, the chief law

enforcement officer of the state. This suit is brought against her in her official capacity only.




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                                  JURISDICTION AND VENUE

           17.   PhRMA ·s causes of action arise under 28 U.S.C. § 1331, 42 U.S.C. § 1983, and the

United States Constitution. The Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3).

        18.      The Declaratory Judgment Act provides that, in a case of actual controversy within

its jurisdiction, a United States court may declare the rights and other legal relations of any

interested party seeking such declaration. 28 U.S.C. § 2201 (a).

        19.      This Court has inherent equitable powers to enjoin the actions of state officials if

they contradict the federal Constitution or federal law. Ex parte Young, 209 U.S. 123, 159-60

(1908); accord, e.g., Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682,689 (1949).

        20.      Venue is proper in this district because this action challenges an Arkansas law,

passed in and administered from Little Rock, which is within this district. 28 U.S.C. § 1391(b)(l).

                                         BACKGROUND

A.      The Federal 3408 Program

        21.      Congress established the 340B program in 1992 to "provide[] protection from drug

price increases to specified Federally-funded clinics and public hospitals that provide direct

clinical care to large numbers of uninsured Americans." H.R. Rep. No. 102-384, pt. 2, at I 2

( 1992). To that end, the federal 340B statute "imposes ceilings on prices drug manufacturers may

charge for medications sold to specified health care facilities," known as "covered entities," that

provide healthcare to certain underserved populations. Pharm. Rsch. & Mfs. ofAm. v. HHS, 43 F.

Supp. 3d 28, 31 (D.D.C. 2014) (quoting Astra USA, Inc. v. Santa Clara County, 563 U.S. 110, 113

(2011)).

       22.       The federal 340B program now accounts for nearly 10% of all prescription-drug

sales in the United States.




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        23.    The 340B program is governed by a federal statutory framework, implemented by

HRSA, a federal agency within HHS. Under the federal 340B statute, participating manufacturers

must offer to each '·covered entity" (as defined by the federal 340B statute) all --covered outpatient

drugs" (as defined by the 340B statute) at or below the applicable ··ceiling price.. (another tenn

defined by the 340B statute) "if such drug[s are] made available to any other purchaser at any

price." 42 U.S.C. § 256b(a)(l).

       24.     Federal law defines "covered entity" for purposes of the 3408 statute to mean ··an

entity that meets the requirements described in paragraph (5)," which restricts unlawful transfers

and duplicate discounts (see infra     ,r,r 28,   35, 42--43), and that '•is one of' fifteen types of

specifically enumerated categories of nonprofit healthcare providers. 42 U.S.C. § 256b(a)(4). For

instance, Federally-Qualified Health Centers, children's hospitals, rural hospitals, and other clinics

serving vulnerable populations are all specifically defined as "covered entities" eligible to enroll

and participate in the 340B program. Id.; see also Am. Hosp. Ass 'n v. Azar, 967 F.3d 818, 820-22

(D.C. Cir. 2020). Retail pharmacies, including "Arkansas-based community pharmacies," are not

among the listed covered entities.

       25.     Federal law defines "covered outpatient drug" for purposes of the 340B program to

have "the meaning given such terms in section l 927(k) of the Social Security Act [42 U.S.C.

§ 1396r-8(k)]," 42 U.S.C. § 256b(b)(l), which in tum generally defines this term (subject to

exceptions) to mean drugs and biologics approved by the federal Food and Drug Administration

('·FDA") to "be dispensed only upon prescription," id. § 1396r-8(k)(2)(A). Covered outpatient

drugs do not include, inter alia, drugs or biological products provided "as part of, or as incident to

and in the same setting as" inpatient hospital services, hospice services, dental services,

physicians' services, or outpatient hospital services and "for which payment may be made ... as




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part of payment for" these services --and not as direct reimbursement for the drug." Id. § 1396r-

8(k)(3). In other words, 340B pricing is available for outpatient drugs that are separately payable

from medical services, and not for inpatient drugs.

       26.     Federal law defines the ··ceiling price'· for purposes of the 340B program to mean

"the maximum price that covered entities may permissibly be required to pay for the drug." Id.

§ 256b(a)(l). Federal law also provides that participating manufacturers shall "calculate[]" the

ceiling price by determining the difference between the drug's '·Average Manufacturer Price" and

its Medicaid rebate amount, as both are determined under Section 1927 of the Social Security Act,

the Medicaid Drug Rebate Program statute. Id. § 256b(a)(l ); see also 42 C.F.R. § 10.10 ("Ceiling

price for a covered outpatient drug·'). In plain English, the ceiling price is the highest price a

manufacturer may charge to 340B covered entities for a covered outpatient drug on 340B

purchases. That ceiling price is deeply discounted compared to the drug's ordinary price.

       27.     Only ··covered entities'· may receive these "ceiling price" discounts under the

express terms of federal law. See 42 U.S.C. § 256b(a)(l ). For-profit hospitals and commercial

businesses such as retail pharmacies, including community pharmacies, are not entitled to receive

340B pricing. See id.

       28.     To the contrary, the 340B statute forbids covered entities from "resell[ing] or

otherwise transfer[ring]" a covered outpatient drug "to a person who is not a patient of the entity."

Id. § 256b(a)(5)(B). In other words, covered entities are prohibited from providing 340B-covered

outpatient drugs to anyone but their own patients. As some PhRMA members argue in related

litigation against HRSA, the 340B statute provides no exception from this broad prohibition-not

for contract pharmacies or anyone else. See, e.g., Eli Lilly & Co. v. Becerra, No. 1:2 l-cv-81 (S.D.

Ind. May 10, 2021 ), ECF 89 at 29 ('·But the plain text of the statute of course does not bless such




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arrangements; rather, its prohibition against diversion explicitly disallows them." (emphasis

added)).

       29.      Congress has not expressly commanded pharmaceutical manufacturers to

participate in the federal 340B program. See Astra USA, 563 U.S. at 117-18. As a practical matter,

however, manufacturers' participation in the 340B program is far from optional: Manufacturers

cannot have any of their products reimbursable under either Medicare Part B or the federal share

of Medicaid-programs that provide access to two enormously important patient populations-

unless they participate in the 340B program. 42 U .S.C. § I 396r-8(a)(l ), (5).

       30.      Manufacturers "opt into" the 340B program by signing a form contract with HHS

·'for covered drugs purchased by 340B entities." Astra, 563 U.S. at 113. That form contract is

known as the Pharmaceutical Pricing Agreement, or PP A. Id. at 117. A PP A is no ordinary

contract. Rather, PPAs are drafted entirely by HHS, they "have no negotiable terms," and they

'•simply incorporate statutory obligations and record the manufacturers' agreement to abide by

them." Id. at 111, 118. "The statutory and contractual obligations, in short, are one and the same."

Id. at 118. The federal government may terminate a PPA if it determines that a manufacturer has

breached its obligations under the 340B statute, including its obligation to offer "covered entities"

··covered outpatient drugs" at or below the applicable "ceiling price." See 42 U.S.C. § I 396r-

8(b)(4)(B)(v); Manufacturer Audit Guidelines and Dispute Resolution Process 0905-ZA-19, 61

Fed. Reg. 65,406, 65,412-13 (Dec. 12, 1996); Dep't of Health & Human Servs., Health Res. &

Servs. Admin., General Instructions for Completing the Pharmaceutical Pricing Agreement

§§ IV(c),    Vl(c),   https://www.hrsa.gov/sites/default/files/hrsa/opa/pdf/pharmaceutical-pricing-

agreement-example.pdf (last reviewed Sept. 27, 2021 ).




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       31.     The 340B statute assigns oversight and enforcement responsibilities exclusively to

HHS, which in tum has delegated the 340B program's oversight and enforcement to HRSA.

Neither the 340B statute nor any federal regulations promulgated under it authorize, envision, or

create room for state regulation regarding these issues within or on top of the 340B program.

       32.     Congress has also specified the audit, dispute-resolution, and enforcement

mechanisms for the 340B program. For instance, the statute specifies that manufacturers have a

right to audit covered entities to ensure that the covered entity is complying with the 340B

program's requirements. 42 U.S.C. § 256b(a)(5)(C). Manufacturers, in tum, are also subject to

compliance audits. Id. § 256b(d)(l )(B)(v).

       33.     HRSA evaluates manufacturers' compliance with the 340B statute's requirements

and may seek to have HHS impose civil monetary penalties on manufacturers that purposefully

charge covered entities more than the statutory 340B ceiling price for covered outpatient drugs.

Specifically, HRSA may seek to have HHS impose civil monetary penalties of nearly $6,000 "for

each instance of overcharging" a covered entity. Annual Civil Monetary Penalties Inflation

Adjustment, 85 Fed. Reg. 2,869, 2,873 (Jan. 17, 2020) (final rule); see also 42 U.S.C.

§ 256b(d)(l)(B)(vi); 42 C.F.R. § 10.1 l(a). "Overcharging" refers to charging a covered entity a

price above the applicable 340B "ceiling price." Congress has specified that these civil monetary

penalties can attach to manufacturers only where they "knowingly and intentionally" overcharge.

42 U.S.C. § 256b(d)(l)(B)(vi)(III).

       34.     The 340B statute also provides for resolving 340B program disputes between

manufacturers and covered entities via an ADR process to be established through "[r]egulations

promulgated by the Secretary [of Health and Human Services]." Patient Protection and Affordable

Care Act, Pub. L. No. 111-148, § 7102(a), 124 Stat. 119, 826-27 (2010) (codified at 42 U.S.C.




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§ 256b(d)(3)) (amending the statute to require HHS to promulgate regulations establishing ADR).

These regulations must ··designate or establish a decision-making official or body within [HHS]

to be responsible for reviewing and finally resolving claims by covered entities that they have been

charged prices for covered outpatient drugs in excess of the ceiling price ... and claims by

manufacturers that violations of [statutory prohibitions on conduct like unlawful transfer to non-

covered entities) have occurred.'" Id. (codified at 42 U.S.C. § 256b(d)(3)(B)(i)). Regulations also

must be designed with such safeguards and "procedures as may be necessary to ensure that claims

shall be resolved fairly, efficiently, and expeditiously"-including required audits and discovery.

42 U.S.C. § 256b(d)(3)(B). To ensure finality and repose, the statute provides that "administrative

resolution of a claim or claims ... shall be a final agency decision and shall be binding upon the

parties involved, unless invalidated by an order of a court of competent jurisdiction."          Id.

§ 256b(d)(3)(C).

       35.     Covered entities must also comply with additional requirements under the 340B

statute. For example, covered entities are prohibited from "resell[ing] or otherwise transfer[ring]

the drug to a person who is not a patient of the entity." 42 U.S.C. § 256b(a)(5)(B) (prohibiting

unlawful transfers, known as diversion).      And covered entities are prohibited from seeking

unlawful "duplicate discounts or rebates" from manufacturers. 42 U.S.C. § 256b(a)(5)(A). Such

"duplicate discounting" most often occurs when a covered entity obtains a drug at a 340B price

and dispenses it to a Medicaid patient, and the manufacturer then also pays a Medicaid rebate to

the state Medicaid agency on the same drug.

B.     Contract Pharmacy Abuses And Resulting Litigation

       36.     As noted above, the 340B statute requires that a manufacturer offer discounted

pnces only to a "covered entity."       42 U.S.C. § 256b(a)(l).     Retail pharmacies, including




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community-based pharmacies, are not '·covered entit[ies]," so they are ineligible to receive 340B

discounts.

       37.     But certain private entities-including commercial pharmacies-have in increasing

numbers sought to leverage the 340B program as a tool to enhance their profitability in a way that

Congress never intended. This is accomplished through complicated contractual arrangements

between a covered entity, a pharmacy, and typically other entities like a third-party administrator.

The core feature of these arrangements is that the for-profit pharmacies end up obtaining drugs

purchased at the 340B price. These contract pharmacies, however, serve not only patients of 340B

covered entities, but the general public as well--despite the fact that 340B-covered outpatient

drugs are permitted to be dispensed only to patients of 340B covered entities.

       38.     Between 2010 and 2018, the number of such contract pharmacy arrangements with

covered entities exploded, increasing "more than fifteen-fold, from about 1,300 to approximately

20,000 [as of 2018]." U.S. Gov't Accountability Off., GAO-18-480, Drug Discount Program:

Federal Oversight of Compliance at 340B Contract Pharmacies Needs Improvement 10 (June

2018) (--2018 GAO Report"), https://www.gao.gov/assets/gao-l 8-480.pdf. A more recent study

put the increase at 4,228%, with now "more than 27,000 individual pharmacies (almost one out of

every three pharmacies)" participating in the 340B program as contract pharmacies.           Aaron

Vandervelde et al., For-Pro.fit Pharmacy Participation in the 340B Program at 4, Berkeley Rsch.

Grp.   (Oct.   2020),   https://media.thinkbrg.com/wp-content/uploads/2020/10/06150726/BRG-

ForProfitPharmacyParticipation340B _ 2020.pdf. By 2020, each covered entity used an average of

22 contract pharmacies. Id. at 7. And the number of actual claims for 340B discounts nationwide

tripled between 2014 and 2019. See Adam J. Fein, New HRSA Data: 340B Program Reached




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$29.9 billion in 2019; Now Over 8% of Drug Sales, Drug Channels, (June 9, 2020),

https ://www.drugchannels.net/2020/06/new-hrsa-data-340b-program-reached-2 99 .html.

       39.     Several federal watchdogs, including the U.S. Government Accountability Office

("GAO'') and HHS"s own Office of the Inspector General ("OIG"), have warned that the growth

of these arrangements exacerbates concerns about fraud and unlawful 340B discounting. See 2018

GAO Report at 44 ('"The identified noncompliance at contract pharmacies raises questions about

the effectiveness of covered entities' current oversight practices."); id. at 45 ("The expansion of

contract pharmacies ... increases potential risks to the 340B Program, such as risks related to

diversion and duplicate discounts.").

       40.     Here is how the system has evolved over recent years: Often with the assistance of

specialized consultants, thousands of retail pharmacies (including the nation's largest pharmacy

chains) conduct undisclosed data analyses to "find" new opportunities to retroactively claim 3408

discounts on drugs already sold to patients at a non-340B price. Then contract pharmacies and

others obtain additional drugs purchased at the 340B prices (with the help of a covered entity) to

"replenish" their general inventories, with no intention of selling (dispensing) those new drugs

solely to patients of the covered entities. So the contract pharmacy replenishes non-340B drugs at

a commercial price, and then comingles all replenished units when it adds them to its inventory.

       41.     This "replenishment" practice, when employed, does not pass 3408 program

discounts on to patients (i.e., the people that Congress intended to benefit from the 340B

program)-but it can enhance the profitability of the pharmacies and covered entities involved.

See Examining Oversight Reports on the 340B Drug Pricing Program: Hearing Before the S.

Comm. on Health, Educ., Labor, & Pensions, 115th Cong. 11 (2018) (testimony of Ann Maxwell,

Assistant Inspector Gen. for Evaluation & Inspections, OIG) ("[M)any contract pharmacies




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dispense drugs to all of their customers-340B-eligible or otherwise-from their regular

inventory." (emphasis added)); U.S. Gov't Accountability Off., GAO-20-108, 340B Drug

Discount Program: Increased Oversight Needed to Ensure Nongovernmental Hospitals Meet

Eligibility Requirements 5 (Dec. 2019), https://www.gao.gov/assets/gao-20-108.pdf (explaining

that covered entities "purchase [340B program] drugs at the 340B Program price for all eligible

patients regardless of the patients' income or insurance status'· and "receiv[ e] reimbursement from

patients' insurance that may exceed the 340B prices paid for the drugs .. ); Deel. of Krista M. Pedley,

Sano_fi-Aventis U.S., LLC v. U.S. Dep 't ofHealth & Human Servs., No. 21-cv-634 (D.N.J. June 24,

2021 ), ECF No. 93-2 (HRSA Director of Office of Phannacy Affairs stating that under the

replenishment system, contract pharmacies use stock replenished at 340B prices as "neutral

inventory" that "may be dispensed to any subsequent patient'').

       42.      The use of contract pharmacies can also exacerbate unlawful "duplicate

discounting."    42 U.S.C. § 256b(a)(5)(A)(i).         As described supra   ~   35, unlawful duplicate

discounting forces the manufacturer to provide a discount on its drug twice-over--once on the

front end to the covered entity, and again on the back end in the form of a rebate to the state

Medicaid agency. Under the 340B statute, Congress placed responsibility for preventing such

unlawful duplicate discounts on covered entities. GAO has found that duplicate discounting

happens with outsized frequency when covered entities use contract pharmacies. See, e.g., 2018

GAO Report at 45; see generally U.S. Gov't Accountability Off., GAO-20-212, 340B Drug

Discount Program: Oversight of the Intersection with the Medicaid Drug Rebate Program Needs

Improvement (Jan. 2020), https://www.gao.gov/assets/gao-20-212.pdf.

       43.      Besides diverting discounts intended for vulnerable populations, the explosion in

contract pharmacy arrangements has also led to an increase in unlawful transfers of drugs




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purchased at a 340B pnce (so-called .. diversion'').           See, e.g., 42 U.S.C. § 256b(a)(5)(B)

(prohibiting transfer or sale to anyone --who is not a patient of the [covered] entity"); U.S. Gov't

Accountability Off., GAO-11-836, Drug Pricing, Mam~facturer Discounts in the 340B Program

Offer    Benefits,   but   Federal    Oversight        Needs    Improvement    28   (Sept.   2011),

https://www.gao.gov/assets/gao-11-836.pdf ("Operating the 340B program in contract pharmacies

creates more opportunities for drug diversion compared to in-house pharmacies.").            Indeed,

approximately two-thirds of violations for diversion uncovered by HRSA audits .. involved drugs

distributed at contract pharmacies." 2018 GAO Report at 44.

        44.    The explosion in contract pharmacy arrangements, and the replenishment model

specifically, led in part to certain PhRMA members independently adopting new policies directed

at addressing the 340B program abuses reported by federal watchdogs. See, e.g., AstraZeneca

Pharms. LPv. Becerra, No. 1:21-cv-00027-LPS (D. Del. Feb. 12, 2021), ECF 13 at 17-19.

        45.     In response, the General Counsel of HHS issued a legal opinion on December 30,

2020, purporting to interpret the 340B statute and declaring that "to the extent contract pharmacies

are acting as agents of a covered entity, a drug manufacturer in the 340B Program is obligated to

deliver its covered outpatient drugs to those contract pharmacies and to charge the covered entity

no more than the 340B ceiling price for those drugs." HHS, Off. of the Sec'y, Advisory Opinion

20-06 on Contract Pharmacies Under the 340B Program at 1 (Dec. 30, 2020) ("Advisory

Opinion"), https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-documents/340B-AO-

FINAL-12-30-2020_ 0.pdf (last reviewed Sept. 27, 2021) (emphasis added); AstraZeneca, 2021

WL 2458063, at *6 ("[T]he [Advisory] Opinion is the first document in which HHS explicitly

concluded that drug manufacturers are required by statute to provide 340B drugs to multiple

contract pharmacies."). In May 2021, HRSA issued letter decisions to the manufacturers who




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were implementing policies to address the 3408 program's abuses. HRSA asserted that the

manufacturers were in violation of the 3408 statute and threatened them with penalties. See

HRSA, 3408 Drug Pricing Program, HRSA Determines Six Pharmaceutical Manufacturers Are In

Violation ofthe 340B Statute, https://www.hrsa.gov/opa/index.html (last reviewed Sept. 27, 2021 ).

       46.     Litigation ensued.   Multiple pharmaceutical manufacturers-including several

PhRMA members-sued HHS, HRSA, and relevant government officials, in their official

capacities, in federal courts across the country. Among other things, these suits challenge the

Advisory Opinion, HRSA' s current view that pharmaceutical manufacturers are required to honor

an unlimited number of contract pharmacy arrangements, as well as certain 3408 ADR regulations.

See Eli Lilly & Co. v. Becerra, No. 1:21-cv-81 (S.D. Ind.) (complaint filed Jan. 12, 2021);

AstraZeneca Pharms. LP v. Becerra, No. 1:21-cv-00027-LPS (D. Del.) (complaint filed Jan. 12,

2021); Sanofi-Aventis US., LLC v. US. Dep't of Health & Human Servs., No. 3:21-cv-00634-

FLW-LHG (D.N.J.) (complaint filed Jan. 12, 2021); Novo Nordisk Inc. v. US. Dep't of Health &

Human Servs., No. 3:21-cv-00806-FLW-LHG (D.N.J.) (complaint filed Jan. 15, 2021); Novartis

Pharms. Corp. v. Becerra, No. 1:21-cv-01479 (D.D.C.) (complaint filed May 31, 2021); United

Therapeutics Corp. v. Espinosa, No. 1:21-cv-1686-DLF (D.D.C.)(complaint filed June 23, 2021);

cf Pharm. Rsch. & Mfrs. Ass'n of Am. v. Becerra, No. 21-cv-00198-PWG (D. Md.) (complaint

filed Jan. 22, 2021 ). These cases thus implicate the very federal policy that Arkansas's Act 1103

purports to regulate.

       47.     On March 16, 2021, Judge Barker, presiding over the Lilly case in the United States

District Court for the Southern District of Indiana, granted Lilly's motion for a preliminary

injunction. Judge Barker enjoined (as to Lilly) the enforcement of HHS and HRSA's new ADR

regulation, which would have governed the process for resolving particular disputes under the




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340B program. See Order Granting Plaintiffs' Motion for Preliminary Injunction at I, Lilly, No.

1:21-cv-81 (S.D. Ind. Mar. 16, 2021), ECF No. 81 (enjoining application of 42 C.F.R. §§ 10.20-

24).

          48.   On June 16, 2021, Chief Judge Stark, presiding over the AstraZeneca case in the

United States District Court for the District of Delaware, issued a decision holding that the 340B

statute does not unambiguously require manufacturers to provide 340B pricing to contract

pharmacies and concluding that the Advisory Opinion was unlawful. AstraZeneca, 2021 WL

2458063, at *8-9, 11. On June 17, 2021, one day after Chief Judge Stark's opinion, HHS withdrew

the Advisory Opinion. Chief Judge Stark subsequently entered an order vacating the Advisory

Opinion. See Order at 3, AstraZeneca, No. l:21-cv-00027-LPS (D. Del. June 30, 2021), ECF

No. 83.

          49.   Other courts will soon issue more decisions addressing the use of contract

pharmacies. For example, Judge Friedrich in the United States District Court for the District of

Columbia scheduled an expedited summary-judgment hearing for October in the Novartis and

United Therapeutics cases. And cross-motions for summary judgment have been fully briefed

since the end of July in Novo Nordisk and Sanofi-Aventis pending in the United States District

Court for the District of New Jersey, so rulings in those matters are likely to issue soon as well.

          50.   Notably, the federal government has changed its position as these cases have

progressed. For example, HHS and HRSA no longer purport to rely on the notion that contract

pharmacies operate in a principal-agent relationship with covered entities (as the Advisory

Opinion asserted)-likely because there is no evidence to support that notion. See, e.g., United

Therapeutics Corp. v. Espinosa, No. l:21-cv-1686-DLF (D.D.C. Aug. 10, 2021), ECF No. 17 at

24 n.4 (defendant conceding that HRSA no longer relies on any "so-called 'principal-agency




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rationalization.,, and thus "does not rest on the assumption that a covered entity and its contract

pharmacies are 'legally one and the same'").

C.     Arkansas Enacts Act 1103 To Impose State-Law Conditions On The Federal 3408
       Program

       51.     On May 3, 2021, as these lawsuits about the use of contract pharmacies in the 340B

program were well underway, Arkansas enacted Act 1103, the ''340B Drug Pricing

Nondiscrimination Acf' ( formerly known as Arkansas House Bill 1881 ).

       52.     Act 1103 expressly provides that its regulatory object is the federal 340B program.

See Ark. Code Ann. § 23-92-601 (title); § 23-92-602(5) ('"340B drug pricing' means the program

established under section 602 of the Veterans Health Care Act of 1992, Pub. L. No. 102-585.").

       53.     Act 1103 does not specify any source for the state's purported authority to add

requirements to a comprehensive federal healthcare program.

       54.     Act 1103 applies to all 340B-eligible drugs, including FDA approved drugs subject

to a REMS under 21 U.S.C. § 355-1.

       55.     Act 1103 enacts Ark. Code Ann. § 23-92-604(c){l), which instructs that "[a]

pharmaceutical manufacturer shall not ... [p ]rohibit a pharmacy from contracting or participating

with an entity authorized to participate in 340B drug pricing by denying access to drugs that are

manufactured by the pharmaceutical manufacturer."

       56.     This provision contains no geographical limit.

       57.     Act 1103 also enacts Ark. Code Ann.§ 23-92-604(c)(2), which mandates that "[a]

pharmaceutical manufacturer shall not ... [d]eny or prohibit 340B drug pricing for an Arkansas-

based community pharmacy that receives drugs purchased under a 340B drug pricing contract

pharmacy arrangement with an entity authorized to participate in 340B drug pricing."




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       58.     Section 23-92-604(c)(2)'s phrase --an Arkansas-based community pharmacy" is the

sole geographical limit on this provision's reach. But Act 1103 does not define '·Arkansas-based"

(or '·community pharmacy"), so it is unclear whether this refers to the physical location of the

pharmacy, the corporate headquarters of it or its parent company, or something else.

       59.     Act 1103 lacks any geographical limitation for the "entity authorized to participate

in 340B drug pricing," i.e., the covered entity. Ark. Code Ann.§ 23-92-604(c)(l).

       60.     Act 1103 's text nowhere requires that drugs purchased at a 340B price that are

provided to a pharmacy be dispensed only to patients of a covered entity.

       61.     Act 1103 also does not account for HRSA's enforcement authority or the

Congressionally mandated safeguards for administrative dispute resolution under the 340B

program.

       62.     Arkansas   Code    Annotated    § 23-92-606    provides      that   "[t]he   Insurance

Commissioner shall promulgate rules to implement this subchapter." To date, no such rules have

been promulgated.

       63.     Act 1103 was to take effect on July 28, 2021, by operation oflaw.

       64.     On July 28, 2021, PhRMA petitioned Defendant Alan McClain, Commissioner of

the Arkansas Insurance Department, for declaratory relief about enforcement of Sections 23-92-

604( c)( l) and (c)(2), enacted by Act 1103. PhRMA asked that the Commissioner stay enforcement

of these provisions ( 1) pending decisions in the ongoing federal suits against HHS and HRSA

about the use of contract pharmacies in the 340B program, or (2) for at least 120 days. PhRMA

further reserved the right to ask a federal court to decide whether Sections 23-61-604(c)(l) and

(c)(2) are preempted or otherwise invalid under federal law-noting that under Arkansas law the

Insurance Department "is not empowered or authorized'" to decide "constitutional objections." Ex.




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1, PhRMA Petition for Declaratory Relief~ 21, In Re Act 1103, AID No. 2021-37 (citing

Declaratory Order~ 11, In re Rate and Form Review Time Periods Under Ark. Code Ann. § 23-

79-109, AID No. 2016-091); see also, e.g., AT&T Commc 'ns. of the Sw., Inc. v. Ark. Pub. Sen•.

Comm 'n, 344 Ark. 188, 196, 40 S.W.3d 273, 279 (2001) (agencies cannot decide constitutional

challenges because ·'to allow the [agency] to declare unconstitutional a statute that it was required

to enforce would violate the separation of powers doctrine" (citing Lincoln v. Ark. Pub. Serv.

Comm 'n, 313 Ark. 295, 854 S.W.2d 330 (1993))).

       65.     That same day, the Commissioner granted PhRMA ·s petition in part and suspended

enforcement of Sections 23-61-604( c)(1) and (c)(2) for 90 days, until October 26, 2021. The

provisions of Act 1103 challenged in this Complaint have thus not yet taken effect.

                                     CLAIMS FOR RELIEF

                                        CLAIM I
       (Declaratory/Injunctive Relief-Preemption Under The Federal 340B Statute)

       66.     PhRMA re-alleges and incorporates the allegations in the preceding paragraphs of

this Complaint.

       67.     Federal law is "the supreme Law of the Land; ... any Thing in the Constitution or

Laws of any State to the Contrary notwithstanding." U.S. Const. art. VI, cl. 2.

       68.     Act 1103's 340B pricing mandate provisions (and certain related provisions) are

preempted because they conflict with the federal 340B program. Conflict preemption "occurs

where either 'compliance with both state and federal law is impossible' or ·the state law stands as

an obstacle to the accomplishment and execution of the full purposes and objectives of Congress."'

Soo Line R.R. Co. v. Werner Enters., 825 F.3d 413, 420 (8th Cir. 2016) (quoting Oneok, Inc. v.

Learjet, Inc., 575 U.S. 373, 377 (2015)). A conflict exists between the 340B statute and federal




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PP As, on the one hand, and Act 1103 's 340B pricing mandate provisions, on the other, for several

reasons.

       69.      First, Congress placed strict limits on the types of entities entitled to 340B pricing

and the types of patients that may receive drugs sold at a 340B price. Specifically, Congress

provided that only --covered entities" are eligible to receive 340B discounts, and it expressly

defined that term to include only fifteen enumerated types of medical facilities. Neither contract

pharmacies nor ··community phannacies" are among the fifteen enumerated covered entities.

Congress, therefore, did not intend for retail pharmacies to receive discounted 340B pricing. See

Meese v. Keene, 481 U.S. 465, 484 ( 1987) ("It is axiomatic that the statutory definition of [a] term

excludes unstated meanings of that term."); Colautti v. Franklin, 439 U.S. 379,392 n.10 (1979)

("'[A] definition which declares what a term 'means' ... excludes any meaning that is not stated.").

       70.      Congress also expressly prohibited any covered entity from reselling or otherwise

transferring a drug bought at the 340B price to anyone other than its patients: "With respect to

any covered outpatient drug that is subject to an agreement under this subsection, a covered entity

shall not resell or othervi·ise transfer the drug to a person who is not a patient of the entity." 42

U.S.C. § 256b(a)(5)(B) (emphasis added). Several PhRMA members have taken the position in

pending litigation that because a retail pharmacy is not a "patient of [a covered] entity," it is

prohibited by federal statute from receiving 340B-program drugs. See, e.g., Eli Lilly & Co., No.

I :2 l-cv-81 (S.D. Ind. May I 0, 2021 ), ECF No. 89 at 29. At a minimum, it is clear that the 340B

statute does not expressly allow covered entities to transfer drugs to retail pharmacies or require

manufacturers to engage in such transfers on behalf of covered entities. Moreover, the federal

transfer prohibition also makes clear that the only individuals eligible to receive 340B-covered

outpatient drugs are patients of a covered entity.




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       71.     Act 1103 's 340B pricing mandate provisions, by contrast, purport to require drug

manufacturers to transfer drugs at 340B prices to any '·Arkansas-based community pharmacy" that

maintains a contract with a covered entity-a requirement that can be found nowhere in federal

law. It also appears to require manufacturers to do so without regard to whether those drugs will

ultimately be dispensed to any patient of a covered entity-without regard to the requirements of

federal law.

       72.     Act 1103 does these things by barring pharmaceutical manufacturers from

''[p ]rohibit[ing] a pharmacy from contracting or participating with an entity authorized to

participate in 340B drug pricing" and from "[d]eny[ing] or prohibit[ing] 340B drug pricing for an

Arkansas-based community pharmacy that receives drugs purchased under a 340B drug pricing

contract pharmacy arrangement." Ark. Code Ann. § 23-92-604( c )( 1)-(2). Act 1103 does not

define or otherwise provide any limits on what constitutes a valid "340B drug pricing contract

pharmacy arrangement"; apparently, manufacturers are obligated to honor any such arrangement

that might be agreed upon between a covered entity and a pharmacy, regardless of the ultimate

disposition of the drugs under the arrangement. Id. § 23-92-604(c)(2). These requirements are

irreconcilable with the federal 340B statute.

       73.     Second, Congress established a process for policing 340B compliance and

resolving disputes between manufacturers and covered entities through audit procedures and

ADR-including claims that a manufacturer's prices exceed the applicable price ceiling-and

delegated authority to the HHS Secretary to develop the specifics of such procedures under federal

law. See 42 U.S.C. § 256b(d)(l)(B)(v), (d)(3). In doing so, Congress specifically required that

these procedures "ensure that claims shall be resolved fairly, efficiently, and expeditiously," and

conferred in some instances the right to an audit or discovery. 42 U.S.C. § 256b(d)(3)(B)(ii). And




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Congress required that such dispute-resolution outcomes would be final, thus ensuring repose. See

supra~ 34.

       74.     Other provisions of Act 1103 address how that statute's 340B pricing mandate

provisions must be implemented and disputes regarding the pricing mandate resolved-and those

too are in conflict with federal law, imposing additional and conflicting requirements related to

340B-program dispute resolution. To the extent that these additional and conflicting provisions

impact the 340B pricing mandate provisions challenged here, they are at odds with the federal

program. See Ark. Code Ann. § 23-92-604(a)(4), § 23-92-605. Such requirements, which are

fundamentally intertwined with the central contract pharmacy provisions challenged here, purport

to limit the extent to which manufacturers and 340B covered entities may contest whether certain

contract pharmacy claims are or are not subject to 340B pricing-and in this context they conflict

with the procedures established by the 340B statute and HHS.

       75.     A parallel, state-imposed dispute resolution system "is hardly what Congress

contemplated when it centralized [340B] enforcement in the [federal] government." Astra USA,

563 U.S. at 119. As the Supreme Court held in Astra USA, no third party-including covered

entities-can interfere with the contractual PP A relationship between HHS and drug

manufacturers that participate in the federal 340B program. See id. at 119-20. That principle

applies with full force here. Just as covered entities cannot disrupt the federal government's

contractual relationship with manufacturers through litigation seeking to enforce the covered

entities' view of the 340B program, states cannot themselves interfere with the federal 340B

program by setting up alternate, conflicting means of enforcing the pricing provisions of the same

federal program. See id. at 120 ("With HHS unable to hold the control rein, the risk of conflicting

adjudications would be substantial.").




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           76.     Third, in certain circumstances, federal law prohibits dispensing certain drugs

purchased at the 340B price in the manner Act 1103 requires. Federal law imposes limitations on

certain drugs that give rise to safety concerns, that require special education and training, or that

are subject to other limitations imposed by FDA, and some PhRMA members manufacture these

types of drugs.       For example, HRSA has recognized that ·'[ c ]ertain covered [340B-priced]

outpatient drugs may be required to be dispensed by specialty pharmacies (e.g., drugs approved

with a risk evaluation and mitigation strategy (REMS) pursuant to section 505-1 of the Federal

Food, Drug, and Cosmetic Act [FDCA])." 340B Drug Pricing Program Omnibus Guidance, 80

Fed. Reg. 52,300, 52,312 (Aug. 28, 2015) (proposed rule). That is, in certain circumstances it may

be unlawful to permit a standard community pharmacy to dispense particular drugs, because such

drugs must be handled only by specialty pharmacies. "As a result, certain manufacturers may use

a restricted network of certified specialty pharmacies, which do not fall under the terms of a

contract pharmacy agreement or wholesaler contract for the distribution of drugs to a covered

entity."     Id.    Yet Act 1103 's 340B pricing mandate provisions apparently require drug

manufacturers to sell all drugs purchased at the 340B price to any Arkansas-based community

pharmacy that maintains a ·'340B drug pricing contract pharmacy arrangement" with a covered

entity, irrespective of other requirements of federal law that restrict distribution of 340B-priced

drugs.

           77.     Act 1103 thus purports to impose requirements related to dispensing such drugs

that directly conflict with federal requirements applicable to those drugs, such as REMS

restrictions imposed under the FDCA, or limited distribution plans established by a manufacturer

under the 340B program.




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       78.     Fourth, Act 1103 frustrates the "accomplishment and execution of the full purposes

and objectives of Congress," Soo Line R.R. Co., 825 F.3d at 420 (quoting Oneok, 575 U.S. at 377),

in various ways in addition to those described above. For example, by imposing additional,

onerous tenns on the federal 340B program, Act 1103 increases the cost of participation in the

federal Medicare and Medicaid programs, without providing corresponding additional benefits.

That serves to discourage manufacturers from participating in Medicare and Medicaid in the first

place by raising the price for participating above the level Congress intended.

       79.     Arkansas Code Annotated § 23-92-604(c)(l)-{2)'s interference with the federal

340B scheme is particularly inappropriate because that scheme is comprehensive and carefully

designed. See, e.g., Arizona, 567 U.S. at 399 (holding that when Congress creates "a framework

of regulation 'so pervasive ... that Congress left no room for the States to supplement it,"' any

state law that "supplement[s] it" is preempted (quoting Rice v. Santa Fe Elevator Corp., 331 U.S.

218,230 (1947))).

       80.     Unlike some federal programs, Congress provided no room for states to add onto

or have any involvement in 340B drug pricing. Instead, as described supra ,-i,-i 21-35, the 340B

statute establishes a detailed scheme to induce and regulate the nationwide provision of steeply

discounted pharmaceutical products to statutorily specified providers and patients.           This

comprehensive federal regime creates a marketplace that would not otherwise exist and that hinges

on federal spending as an inducement to persuade manufacturers to participate.

       81.     Everything about the 340B program that is relevant here is federally defined and

federally dictated. Congress exhaustively defined "covered entity" (the types of providers eligible

for 340B pricing) by referencing many other federal statutes.        See 42 U.S.C. § 256b(a)(4).

Congress defined "covered outpatient drug" (i.e., the products whose prices are set by the 340B




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statute) to have "the meaning given such terms in section 1927(k) of the Social Security Act," id.

§ 256b(b ), another federal statute that carefully defines this term for the purpose of manufacturer

participation in the separate Medicaid Drug Rebate Program. Id. § 1396r-8(k). Congress defined

"ceiling price" for purposes of the 340B statute to mean "the maximum price that covered entities

may permissibly be required to pay for the drug." Id. § 256b(a)(l). And Congress provided that

the Secretary of HHS shall "calculate[]" "the ceiling prices" by determining the difference between

a manufacturer's "Average Manufacturer Price" (another term defined in section 1927(k) of the

Social Security Act) and its Medicaid rebate amount (as determined pursuant to section 1927(c) of

the Social Security Act). Id. § 256b(a)(l)-{2) & (b), (d)(l)(B)(i)(II). Such connections between

the 340B statute and the separate Medicaid Drug Rebate Program, including the shared tenn

"covered outpatient drug" and determining 340B ceiling prices based on Medicaid rebate

calculations, reflect a careful balance that Congress struck between the federal government and

manufacturers when establishing the 340B program two years after the Medicaid Drug Rebate

Program. Indeed, participation in the federal 340B program is necessary for manufacturers to have

their drugs reimbursable under Medicare Part B or the federal share of Medicaid. See 42 U.S.C.

§ 1396r-8(a)(l ), (a)(5). Moreover, a manufacturer's participation in the 340B program is governed

by a contract with a federal agency. See Astra, 563 U.S. at 113, 117.

       82.     Neither the 340B statute nor any regulations promulgated under it authorize state

regulation concerning 340B pricing.

       83.     Yet Act 1103 directly invokes the federal 340B program, see Ark. Code Ann.§ 23-

92-601 (title); § 23-92-602(5) ('"340B drug pricing' means the program established under section

602 of the Veterans Health Care Act of 1992, Pub. L. No. 102-585."), and its operative terms not

only depend on the federal 340B program, but add pricing requirements to it. For these reasons




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and more, Congress's occupation of the field in relation to 340B pricing preempts the requirements

of Act 1103 challenged here.

       84.     Act 1103's contemplation of rules promulgated by the Arkansas Insurance

Commissioner to guide the Act's enforcement vividly demonstrates exactly why Congress has

occupied the field.   Congress provided a detailed scheme for enforcing the 340B statute by

providing for civil monetary penalties and other remedies for their violation, but accompanied

these provisions with important safeguards. See 42 U.S.C. § 256b(d)(l)(B)(vi), (d)(2)(B)(v). For

instance, Congress specified that a manufacturer may be held liable only when it "knowingly and

intentionally" overcharges a covered entity. Id. § 256b(d)(l)(B)(vi)(III) (emphasis added). Yet

Ark. Code Ann. § 23-92-606 contemplates state enforcement and instructs that "[t]he Insurance

Commissioner shall promulgate rules to implement this subchapter," (emphasis added); see also

Ferguson v. State, 2016 Ark. 319, *7, 498 S.W.3d 733, 737 (2016) ("[T]he word 'shall' is

mandatory rather than discretionary."). To begin enforcement of the Act without providing clear

notice of what consequences manufacturers would face under Act 1103, and to allow imposition

of state-law penalties without the safeguards that Congress designed, is exactly what Congress

sought to avoid when it enacted the 340B statute.

       85.     For all of the foregoing reasons, Act l 103's 340B pricing mandate provisions are

preempted and their enforcement should be enjoined. See Melikian Enter., LLLP v. McCormick,

863 F.3d 802, 806 (8th Cir. 2017) ("Preemption may be implied, for example, when federal and

state laws directly conflict, when state law stands as an obstacle to accomplishing the purposes of

federal law, or when federal law is so pervasive that it reflects an intent to occupy a regulatory

field." (internal quotation marks and citation omitted)); Qwest Corp. v. Minn. Pub. Utils. Comm 'n,

684 F.3d 721, 727-28 (8th Cir. 2012).




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                                       CLAIM II
     (Declaratory/Injunctive Relief-Dormant Commerce Clause-Extraterritoriality)

        86.    PhRMA re-alleges and incorporates the allegations in the preceding paragraphs of

this Complaint.

        87.    The Commerce Clause provides that ··congress shall have power ... [t]o regulate

commerce ... among the several states." U.S. Const. art. I, § 8, cl. 3.

       88.     Although framed in terms of an affirmative grant to Congress, the Commerce

Clause has long been understood also to limit "the power of the States to interfere with or impose

burdens on interstate commerce." Ark. Elec. Coop. Corp. v. Ark. Pub. Sen). Comm 'n, 461 U.S.

375, 389 (1983) (citation omitted). This limitation on state power, often called the "negative" or

"·dormant" component of the Commerce Clause, means that the Constitution itself sometimes

precludes state laws, even without preemptive Congressional legislation.

       89.     In particular, "the Commerce Clause protects against ... the projection of one state

regulatory regime into the jurisdiction of another State." Healy, 491 U.S. at 336-37 (footnote

omitted). Under this extraterritoriality doctrine, "a state law that has the 'practical effect' of

regulating commerce occurring wholly outside that State's borders" "exceeds the inherent limits

of the enacting State's authority," "is invalid under the Commerce Clause," and will be struck

down "whether or not the [regulated out-of-state] commerce has effects within the [regulating]

State," and even if the "extraterritorial reach was [not] intended by the legislature." Id. at 332-33,

336 (citation omitted); see Cotto Waxo Co. v. Williams, 46 F.3d 790, 793 (8th Cir. 1995)

("Extraterritorial reach invalidates a state statute when the statute requires people or businesses to

conduct their out-of-state commerce in a certain way."). Put another way, "a state regulation is

per se invalid ... when the statute has the practical effect of controlling conduct beyond the

boundaries of the state." Cotto Waxo, 46 F.3d at 793.



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        90.       Applications of this anti-extraterritoriality rule take many forms, but the most

fundamental is that no state may ··project its legislation into [another state] by regulating the price

to be paid in that state for [goods] acquired there," even if the goods at issue are destined for resale

in the regulating state. Baldwin, 294 U.S. at 521.

        91.       Baldwin is the foundational case in this area. The dispute in Baldwin arose after a

Vermont "creamery'' (manufacturer) sold milk wholesale to a New York "milk dealer" (wholesale

distributor) at a price that New York's Milk Control Act considered too low. Id. at 518. It was

undisputed that the transaction occurred in Vermont, and the milk sold in that transaction was

intended for resale to New York retailers (and then to New York consumers). Id. The statute

"applied only to milk that would eventually be sold to New York consumers," and it said nothing

on its face about out-of-state transactions. Carolina Trucks & Equip., Inc. v. Volvo Trucks ofN

Am., Inc., 492 F.3d 484, 490-91 (4th Cir. 2007) (discussing Baldwin). But that did not matter, let

alone drive the Supreme Court's constitutional analysis. What mattered instead was that the state

statute had the practical effect of regulating out-of-state wholesale transactions: Even though the

Milk Control Act only reached transactions upstream of in-state consumer transactions in New

York, the Court still determined that it was unconstitutional vis-a-vis transactions that took place

outside New York. As the Supreme Court explained, under the Commerce Clause, "New York

has no power to project its legislation into Vermont by regulating the price to be paid in that state

for milk acquired there," even if the out-of-state transactions regulated are wholesale transactions,

and even if the milk sold there may later be resold in a downstream sale in New York. Baldwin,

294 U.S. at 521; see also Cotto Waxo, 46 F.3d at 793 ( "Extraterritorial reach invalidates a state

statute when the statute requires people or businesses to conduct their out-of-state commerce in a

certain way.").




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       92.     So too here. Arkansas .. has no power to project its legislation into" another state

'·by regulating the price to be paid in that [other] state for [drugs] acquired there.'' Baldwin, 294

U.S. at 521. And that remains true even ((the drugs sold in those upstream, out-of-state wholesale

transactions may later be resold in downstream retail-pharmacy sales in Arkansas.

       93.     Act 1103 's 340B pricing mandate provisions violate this fundamental limitation on

state power, as evidenced by the fact that they would apply completely extraterritorially to the

majority of PhRMA's members, who have no direct sales, manufacturing, or distribution

operations of 340B-covered outpatient drugs in the State of Arkansas. Just as in Baldwin, the

challenged provisions of Act 1103 "effectively . . . instruct[] manufacturers and wholesale

distributors as to the prices they are permitted to charge in transactions that do not take place in

[Arkansas]."' Ass'nfor Accessible Meds. v. Frosh, 887 F.3d 664, 672 (4th Cir. 2018) (striking

down a Maryland drug-pricing law on extraterritoriality grounds); see also Pharm. Rsch. & Mfrs.

of Am. v. District of Columbia, 406 F. Supp. 2d 56, 68-70 (D.D.C. 2005) (striking down a D.C.

law vis-a-vis "transactions between manufacturers and wholesalers that occur wholly out of state"

as "a per se invalid extraterritorial reach in violation of the Commerce Clause"), ajf'd sub nom.

Biotech. Indus. Org. v. District of Columbia, 496 F.3d 1362 (Fed. Cir. 2007).

       94.     To understand how Act 1103 's 340B pricing mandate provisions will inevitably

regulate commerce wholly outside Arkansas's borders, it is necessary to understand how "an

Arkansas-based community pharmacy that receives drugs purchased under a 340B drug pricing

contract pharmacy arrangement" actually '·receive[s] drugs." Ark. Code Ann.§ 23-92-604(c)(2).

       95.     Most PhRMA members do not make any covered outpatient drug sales directly to

retail pharmacies in Arkansas. (Some of PhRMA' s members do make a smaller number of sales

to national retail pharmacy chains that warehouse the products themselves. These transactions,




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however, generally take place entirely outside Arkansas.) And none of PhRMA's members is

based in Arkansas, none manufacture any final products there, and most have no sales or

distribution operations in the state involving 340B-covered outpatient drugs.

        96.    Following nationwide industry practice, retail pharmacies typically purchase drugs

from wholesale distributors rather than manufacturers.       In particular, nearly all of PhRMA's

members sell the bulk of their products at the wholesale level to one of the ·•Big Three"

distributors: AmerisourceBergen, McKesson, and Cardinal Health. None of the Big Three is

headquartered in Arkansas.       (AmerisourceBergen is based in Pennsylvania; McKesson in

California; and Cardinal Health in Ohio.) As a general matter, pharmacies then purchase their

drugs from these wholesale distributors.

       97.     Yet because Sections 23-92-604( c )(1) and (c)(2) apply to ·'pharmaceutical

manufacturer[s]'" like PhRMA's members, as opposed to distributors, they effectively regulate

transactions that are (I) out-of-state transactions between manufacturers and their nationwide

distributors and (2) out-of-state transactions between manufacturers and covered entities.

       98.     In the typical case, PhRMA members sell their products to the ·•Big Three"

wholesale distributors. See supra ,i,i 96. By requiring manufacturers to grant 340B prices to

Arkansas contract pharmacies, the statute effectively regulates manufacturers' out-of-state sales to

these out-of-state wholesale distributors by setting the price that a manufacturer ultimately receives

from its distributors for drugs destined for Arkansas community pharmacies.

       99.     In relatively rare instances, PhRMA members do sell to covered entities directly.

But these sales too generally take place between out-of-state manufacturers and out-of-state

covered entities.




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        100.    Even though these transactions take place outside of Arkansas, Act 1103 's 340B

pricing mandate provisions purport to regulate them. As noted, Ark. Code Ann. § 23-92-604( c)( 1)

provides: "A pharmaceutical manufacturer shall not ... [p ]rohibit a phannacy from contracting or

participating with an entity authorized to participate in 340B drug pricing by denying access to

drugs that are manufactured by the phannaceutical manufacturer.'· And Section 23-92-604(c)(2)

explicitly prohibits pharmaceutical manufacturers participating in the 340B program from

"[d]eny[ing] or prohibit[ing] 340B drug pricing for an Arkansas-based community pharmacy that

receives drugs purchased under a 340B drug pricing contract pharmacy arrangement with an entity

authorized to participate in 340B drug pricing.'' Indeed, only by interfering with out-of-state

transactions could these provisions of Act 1103 have any real effect at all: As explained, PhRMA' s

members generally do not sell 340B-covered outpatient drugs directly to Arkansas pharmacies

themselves, and thus Act 1103's requirement that manufacturers not "[d]eny" "340B drug pricing

for an Arkansas-based community pharmacy" could be enforced only at the level of

manufacturers' out-of-state sales to wholesalers. See supra~~ 95-96.

        101.    Such interference with out-of-state sales runs afoul of the Commerce Clause.

Arkansas has no power to regulate entirely out-of-state transactions. See Healy, 491 U.S. at 335-

36; see, e.g., North Dakota v. Heydinger, 825 F .3d 912, 921-22 (8th Cir. 2016) (invalidating

Minnesota laws that "seek to reduce emissions that occur outside Minnesota by prohibiting

transactions that originate outside Minnesota," because "their practical effect is to control activities

taking place wholly outside Minnesota").          And this remains true even if the out-of-state

transactions have effects (e.g., lead to higher prices) in Arkansas, and even if the complaining

pharmacy or covered entity is in Arkansas. See, e.g., Baldwin, 294 U.S. at 518-21; Healy, 491

U.S. at 332-36; Ass 'nfor Accessible Meds., 887 F.3d at 669-72.




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        102.   Thus, under "Baldwin and Healy," a state law that requires ··manufacturers [to] sell

their drugs to a wholesaler for a certain price," ·•either by its express tenns or by its inevitable

effect,"' is per se invalid as a violation of the Commerce Clause. Pharm. Rsch. & Mfi·s. of Am. v.

Walsh, 538 U.S. 644, 669 (2003). To the extent that this is exactly what Act 1103 's 340B pricing

mandate provisions appear to effectively require, they cannot survive constitutional scrutiny.

        103.   Section 23-92-604( c)(2) would also be unconstitutional to the extent that its

prohibition on "[ d]eny[ing] or prohibit[ing] 340B drug pricing for an Arkansas-based community

pharmacy" means that manufacturers that do not already do business with an Arkansas-based

community pharmacy now must do so.             The statute could potentially be read to require

manufacturers to provide 340B-discounted product to Arkansas phannacies merely because the

manufacturer sells drugs to an out-of-state covered entity that has a contractual relationship with

an Arkansas pharmacy. But, as noted, most of PhRMA's members do not sell any 340B-covered

outpatient drugs directly to retail pharmacies in Arkansas. And as the Supreme Court has long

made clear, neither Arkansas nor any other state can require an out-of-state enterprise to do

business in the state. "While a State may seek lower prices for its consumers, it may not insist that

producers or consumers in other States surrender whatever competitive advantages they may

possess." Brown-Forman Distillers Corp. v. NY. State liquor Auth., 476 U.S. 573,580 (1986).

       104.    For these reasons, Act 1103 's 340B pricing mandate provisions are per se invalid

under the dormant Commerce Clause.

                                    PRAYER FOR RELIEF

       PhRMA respectfully prays that this Court:

               a.      issue an order and judgment declaring that Ark. Code Ann. § 23-92-604( c)

       is unconstitutional and violates federal law;




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       b.     issue an order and judgment declaring that Act 1103 does not require

PhRMA's members to offer price discounts under the 340B program to contract

pharmacies in Arkansas;

       c.     enjoin the implementation and enforcement of Act 1103 against PhRMA ·s

members;

       d.     award PhRMA costs and reasonable attorneys' fees, as appropriate; and

       e.     grant any other relief the Court finds just and appropriate.



                                     Respectfully submitted,



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                  BEFORE THE ARKANSAS INSURANCE DEPARTMENT



 In re Act 1103

 PHARMACEUTICAL RESEARCH &
 MANUFACTURERS OF AMERICA,
                                                               AID No.
                Petitioner.




                          PETITION FOR DECLARATORY RELIEF

       Comes now the above-named Petitioner, the Pharmaceutical Research and Manufacturers

of America ("PhRMA"), and for its Petition for Declaratory Relief under Ark. Code Ann. § 25-

15-206 and this Department's Rule 121 states as follows:

                               PRELIMINARY STATEMENT

       1.      This petition concerns Act 1103, the "340B Drug Pricing Nondiscrimination Act."

Act 1103 was enacted on May 3, 2021. Specifically, this declaratory order is sought under Section

23-92-604(c)(l) and Section 23-92-604(c)(2) of Act 1103.

       2.      Act 1103 regulates and imposes additional requirements on the operations of a

comprehensive federal program.      That federal program, enacted as the 340B Drug Pricing

Program, see 42 U.S.C. § 256b, and known as 340B, requires drug manufacturers to offer covered

outpatient drugs at large discounts to specified non-profit "covered entities" that serve indigent,

uninsured, and certain other specific vulnerable patient populations. See PhRMA v. HHS ( Orphan

Drug I), 43 F. Supp. 3d 28, 31 (D.D.C. 2014) (explaining that 340B "imposes ceilings on prices

drug manufacturers may charge for medications sold to specified health care facilities," known as




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covered entities) (quoting Astra USA, Inc. v. Santa Clara Cty., 563 U.S. 110, 113 (2011)); see also

Ark. Code Ann.§ 23-92-601 (title); id. § 223-92-602(5) ('"3408 drug pricing' means the program

established under section 602 of the Veterans Health Care Act of 1992, Pub. L. No. 102-585.").

       3.      Federal law defines the term "covered entity" for purposes of 340B to mean an

entity that "is" "one of' 15 types of specifically enumerated categories of nonprofit healthcare

providers. 42 U.S.C. § 256b(a)(4). For instance, Federally Qualified Health Centers, children's

hospitals, rural hospitals, and other clinics serving vulnerable populations are all specifically

defined as "covered entities" eligible to participate in 340B. Id; see also Am. Hosp. Ass 'n v. Azar,

967 F.3d 818,820 (D.C. Cir. 2020).

       4.      Congress has made drug manufacturers' compliance with this federal program a

condition of coverage for their drugs under Medicaid and Medicare Part B. To effectuate that

requirement, 340B obligates manufacturers to enter into contracts with the U.S. Department of

Health and Human Services ("HHS") that promise to offer the discounts required by the statute to

the federally defined "covered entities."

       5.      PhRMA, a trade association representing the nation's leading innovative

biopharmaceutical research companies, represents the interests of many of the manufacturers that

operate under the federal 340B program. PhRMA's members manufacture and sell patented

pharmaceutical products.

       6.      Act 1103 seeks to regulate the manner in which manufacturers participate in the

federal 340B program. In particular, Act 1103 requires manufacturers to provide their drugs at

3408 prices not just to the 15 types of"covered entities" Congress specified in the federal statute,

but also to or through all "community pharmacies" based in Arkansas with whom those covered

entities may choose to have business dealings. Act 1103, § 23-92-604(c)(2). As a federal district




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court recently concluded, it "is hard to believe that Congress enumerated 15 types of covered

entities with a high degree of precision and intended to include contract pharmacies as a 16th

option by implication." AstraZeneca Pharms. LP v. Becerra, No. CV 21-27-LPS, 2021 WL

2458063, at *10 (D. Del. June 16, 2021).

       7.      In Section 23-92-604(c)(l), Act 1103 states: "A pharmaceutical manufacturer shall

not . . . [p ]rohibit a pharmacy from contracting or participating with an entity authorized to

participate in 340B drug pricing by denying access to drugs that are manufactured by the

pharmaceutical manufacturer."

       8.      In Section 23-92-604(c)(2), Act 1103 states: "A pharmaceutical manufacturer shall

not ... [d]eny or prohibit 340B drug pricing for an Arkansas-based community pharmacy that

receives drugs purchased under a 340B drug pricing contract pharmacy arrangement with an entity

authorized to participate in 340B drug pricing."

       9.      PhRMA's members are "pharmaceutical manufacturers" under Section 23-92-604

of Act 1103. They do not appear to otherwise be regulated by Act 1103 or subject to the

jurisdiction of the Insurance Department.

        10.    Act 1103 implicates a key issue of federal law that is currently pending before

multiple federal courts across the nation: Whether, under federal law, the 340B statute requires

manufacturers to transfer their drugs at 340B prices to "contract pharmacies" at the request of

covered entities.

        11.    On December 30, 2020, HHS issued an "Advisory Opinion" ("AO") which stated

"that drug manufacturers must provide 340B discounts when a contract pharmacy is acting as an

agent of a covered entity, providing services on behalf of the covered entity." HHS, Press Release,

HHS Releases Advisory Opinion Clarifying that 340B Discounts Apply to Contract Pharmacies




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(Dec. 30, 2020); see also HHS Office of the General Counsel, Advisory Opinion 20-06 on Contract

Pharmacies under the 340B Program, at 1 (Dec. 30, 2020) ("We conclude" that "a drug

manufacturer in the 340B program is obligated to deliver its covered outpatient drugs to those

contract pharmacies and to charge the covered entity no more than the 340B ceiling price for those

drugs" whenever a contract pharmacy acts as a covered entity's "agent."), https://bit.ly/357nqfk.

       12.     Many pharmaceutical manufacturers (including some of PhRMA's members) filed

suit against HHS, the federal Health Resources and Services Administration ("HRSA"), and their

respective leaders in federal district courts across the country, challenging the conclusions and

reasoning contained in the AO (and further challenging certain 340B administrative dispute

resolution regulations (known collectively as the ADR Rule)). See Eli Lilly & Co. v. Becerra, No.

1:21-cv-81 (S.D. Ind.) (complaint filed Jan. 12, 2021); AstraZeneca Pharms. LP v. Becerra, No.

1:21-cv-00027-LPS (D. Del.) (complaint filed Jan. 12, 2021); Sanoji-Aventis U.S., LLC v. U.S.

Dep't of Health & Human Servs., No. 3:21-cv-00634-FLW-LHG (D.N.J.) (complaint filed Jan.

12, 2021); Novo Nordisk Inc. v. U.S. Dep 't of Health & Human Servs., No. 3:21-cv-00806-FLW-

LHG (D.N.J.) (complaint filed Jan. 15, 2021); Novartis Pharms. Corp. v. Becerra, No. l:21-cv-

01479 (D.D.C.) (complaint filed May 31, 2021); United Therapeutics v. Espinosa, No. l:21-cv-

01686 (D.D.C.) (complaint filed June 23, 2021); cf Pharm. Research & Mfrs. Ass'n of Am. v.

Becerra, No. 8:21-cv-99198-PWG (D. Md.) (complaint filed Jan. 22, 2021). Collectively, these

suits will be referred to as the "Pending Cases."

       13.     The position of the manufacturers in the Pending Cases includes that the text of

340B enumerates the 15 types of "covered entit[ies]" eligible to receive the 340B price and

expressly prohibits a covered entity from transferring a drug purchased at the 340B price to anyone

other than its patients: "With respect to any covered outpatient drug that is subject to an agreement




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under this subsection, a covered entity shall not resell or otherwise transfer the drug to a person

who is not a patient of the entity."       42 U.S.C. § 256b(a)(5)(B) (emphasis added).          The

manufacturers assert that neither contract pharmacies nor "community pharmacies" (the term used

in§ 21-61-604(c)(2)) are among the 15 enumerated covered entities. And because a pharmacy is

obviously not a "patient of [a covered] entity," covered entities are prohibited from "resell[ing] or

otherwise transfer[ring]" 340B drugs to them. See AstraZeneca, 2021 WL 2458063, at *10

(recognizing that it is "hard to believe" that Congress "intended to include contract pharmacies as

a [covered entity] by implication").

       14.     By contrast, the federal government in the Pending Cases maintains that federal law

requires manufacturers to transfer their drugs at the 340B discounted price to contract pharmacies.

See, e.g., id at *8. Thus, these suits squarely present the issue whether manufacturers, such as

PhRMA's members, must under federal law provide 340B drugs to contract pharmacies.

       15.     Several of these Pending Cases have already progressed significantly. On June 16,

2021, Chief Judge Stark, presiding over the AstraZeneca case in the United States District Court

for the District of Delaware, issued a decision holding that the federal 340B statute does not

unambiguously obligate manufacturers to give 340B discounts on drugs dispensed by contract

pharmacies. AstraZeneca, 2021 WL 2458063, at *8-12. Thereafter, Chief Judge Stark entered an

order vacating the AO. Order 3, AstraZeneca, No. 1:21-cv-00027-LPS (D. Del. June 30, 2021).

Meanwhile, multiple other challenges remain pending in courts across the country, including in

the U.S. District Court for the District of Columbia ("D.D.C."). See supra ,i 12. D.D.C. is

proceeding quickly to resolve these matters, including setting a schedule for expedited

consideration of summary judgment motions with a hearing scheduled for early October. See

Minute Order, United Therapeutics v. Espinosa, No. 1:21-cv-01686 (D.D.C.) (July 15, 2021)




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                (consolidating and expediting D.D.C. cases and setting joint hearing in October). And both the

                Sanofi-Aventis and Novo Nordisk cases are fully briefed.

                       16.    Accordingly, multiple federal courts will likely soon rule on whether federal law

                requires the use of contract pharmacies. Because Act 1103 requires manufacturers to provide

                340B drugs to Arkansas-based community pharmacies, see Ark. Code Ann. § 23-92-604, the

                constitutionality and lawfulness of Act 1103 is intimately tied to the outcome of these federal

                Pending Cases.

                       17.    Act 1103 directly and substantially affects PhRMA's members.             Absent a

                declaratory order staying enforcement of Sections 23-92-604(c)(l) and 23-92-604(c)(2) against

                PhRMA's members at this time, PhRMA's members will be required to provide contract

                pharmacies access to manufacturers' drugs at 340B prices-at great financial cost-or risk the

                threat of enforcement by the Insurance Department, which would almost certainly lead to further

                litigation. See, e.g., Deel. of Odalys Caprisecca, AstraZeneca Pharms. LP v. Becerra, No. 1:21-

                cv-00027-LPS (D. Del.) (ECF No. 16) (filed Jan. 12, 2021) (averring to irreparable harm).

                       18.    PhRMA thus respectfully requests that the Insurance Department stay enforcement

                of Sections 23-61-604(c)(l) & (2) of Act 1103 as to its members while the Pending Cases are

                resolved, or for a minimum of 120 days (subject to renewal).

                       19.    Act 1103 will take effect on July 28, 2021, by operation oflaw. See Op. Ark. Att'y

                Gen. No. 29 (2021). A stay of enforcement is thus urgently needed.

                       20.    To be clear, PhRMA believes that the provisions of Act 1103 applicable to

                pharmaceutical manufacturers are preempted by the Supremacy Clause of the U.S. Constitution

                because they conflict with the requirements, purposes, and objectives of the federal 340B statute

                and program-and that this is true no matter the outcome of the pending federal-court litigation.




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                Whereas federal law forbids the forced transfer of manufacturers' drugs to non-patients such as

                pharmacies, Act 1103 requires it. And Act 1103's interference with the federal 340B scheme is

                particularly inappropriate because that scheme is comprehensive and carefully crafted, leaving no

                room for state interference. See, e.g., Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 486 (2013);

                Crosby v. Nat 'l Foreign Trade Council, 530 U.S. 363, 373 (2000); Arizona v. United States, 567

                U.S. 387,399 (2012). Act 1103 also appears to violate the Commerce Clause, because its practical

                effect will be to directly regulate two types of transactions: (1) transactions between manufacturers

                such as PhRMA's members and their wholesale-distributor partners, nearly all of which take place

                entirely outside of Arkansas; and (2) transactions between manufacturers and out-of-state "covered

                entities" that are actually entitled to benefits under the federal 340B program. See Healy v. Beer

                Inst., Inc., 491 U.S. 324,333,336 (1989).

                         21.   All that said, PhRMA does not hereby seek a ruling by the Insurance Department

                on whether Sections 23-61-604(c){l) and (2) of Act 1103 are preempted or are otherwise invalid

                under federal law. Indeed, the Insurance Department "is not empowered or authorized" to decide

                "constitutional objections," Declaratory Order, In re Rate and Form Review Time Periods Under

                Ark. Code Ann.§ 23-79-109, AID No. 2016-091, 1 11, and PhRMA expressly reserves the right to

                have a federal court decide those issues should the need arise.

                         22.   Instead, PhRMA, through this petition, seeks a ruling staying enforcement of Act

                1103 as to PhRMA' s members by the Insurance Department pending the outcome of the Pending

                Cases that are directly relevant to the federal program Act 1103 purports to address, or for a

                minimum of 120 days (subject to renewal). These cases will bear directly on the legality of Act

                1103.

                         23.   PhRMA does not request a hearing on this petition.




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                                               PRAYER FOR RELIEF

                  PhRMA respectfully prays that the Insurance Department:

                  a.       issue a declaratory order staying enforcement of Sections 23-92-604(c)(l) and 23-

          92-604(c)(2) of Act 1103 as to PhRMA and its members, pending resolution of the federal Pending

          Cases or for at least 120 days (subject to renewal); and

                  b.       issue an interim order staying enforcement of Sections 23-92-604(c)( 1) and 23-92-

          604(c)(2) of Act 1103 as to PhRMA and its members. while the Insurance Department considers

          this petition.



           Dated: July 28, 2021                         Respectfully submitted,

                                                         ~
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                                          CERTIFICATE OF SERVICE
          The undersigned certifies that a true and correct copy of the above styled document has been served
          via e-mail on July 28, 2021. and will be served via hand delivery on July 29, 2021, upon:

          Jim Brader
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          I am also mailing a copy of this document via certified mail on July 29, 2021 to:

          Arkansas Insurance Department
          Attn: Mr. Jim Brader, General Counsel
          1200 West Third Street
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                                                               Joshua C. Ashley




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